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                                    MEMORANDUM

DATE:         JULY 14, 2022

TO:           MARK GRIFFIN, LAW DIRECTOR
              KARRIE HOWARD, DIRECTOR OF PUBLIC SAFETY
              GARY SINGLETARY, CHIEF COUNSEL
              DORNAT DRUMMOND, INTERIM CHIEF OF POLICE
              TIMOTHY MYGATT, DEPUTY CHIEF, DOJ/CRT
              JONAS GEISSLER, DOJ/CRT
              ACRIVI COROMELAS, DOJ/CRT
              MICHELLE HEYER, AUSA
              SARA DECARO, AUSA
              MICHAEL EVANOVICH, USAO

FROM:         HASSAN ADEN, MONITOR

SUBJECT:      ARBITRATION APPEAL

As we discussed last week, the Monitoring Team has had an opportunity to review a
June 21, 2022, arbitration decision in a case involving Director Howard's termination of
Cleveland Police Officer Mason Swires. The termination decision was based, in part, on
a finding of dishonesty on the part of Officer Swires.

In his decision, the arbitrator incorrectly applied a "Beyond a Reasonable Doubt"
standard of proof to the dishonesty allegation, based on a finding that the Disciplinary
Matrix created "a near summary dismissal regarding dishonesty" through
its presumption that termination is the appropriate discipline for intentional dishonesty
on the part of a police officer.

We believe that the City must appeal this decision to the courts if the City ever hopes to
comply with the Consent Decree's requirements that the City engage in Constitutional
policing by ensuring accountability on the part of its officers. Unless the City is willing to
appeal incorrect application of law or fact on the part of an arbitrator, the City cannot
come into compliance. A disciplinary case is not ultimately over even if the Director of
Public Safety makes a decision that would otherwise support compliance; specifically if
that decision is overturned without any objection on the part of the City.

It is our understanding that the City has only thirty days to appeal this decision. As such,
we strongly encourage you to take immediate action in support of ensuring Consent
Decree compliance on the part of the City.
